      Case 1:20-cv-05371-JPO-OTW Document 19 Filed 10/14/20 Page 1 of 1




UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK

 JOSEPH GUGLIELMO, on behalf of
 himself and all others similarly situated,
                                Plaintiff,                         20-CV-5371 (JPO)

                     -v-                                                ORDER

 THREESIXTY BRANDS GROUP, LLC,
                     Defendant.


J. PAUL OETKEN, District Judge:

       The Court has been informed that the parties have reached a settlement in principle of

this case. Accordingly, it is hereby ORDERED that this action is DISMISSED without costs and

without prejudice to restoring the action to the Court’s calendar, provided the application to

restore the action is made within sixty days.

       All filing deadlines and conference dates are adjourned sine die.

       SO ORDERED.

Dated: October 14, 2020
       New York, New York

                                                ____________________________________
                                                           J. PAUL OETKEN
                                                       United States District Judge
